
Thomson, P. J.,
delivered the opinion of the court.
The facts in this case are the same with those in People ex rel. Reynolds v. Rio Grande County, ante, p. 124, except that the judgment against the county was recovered by Sam M. Janney, and by him transferred to Rollins, the relator here ; and except that one of the warrants issued upon the judgment, amounting to 1105.34, was paid. In all other respects *139the two eases are alike. The amount paid should he credited on the judgment, and a peremptory mandamus awarded for the levy of a tax to pay the residue, in accordance with our instructions to the district court in the opinion delivered in the Reynolds case; and the judgment in this case is reversed and remandedfor further proceedings in conformity with those instructions.

Reversed.

Wilson, J., not sitting.
